                         Case:18-01839-swd              Doc #:22 Filed: 08/10/18        Page 1 of 1


                                             UNITED STATES BANRUPTCY COURT
                                              WESTERN DISTRICT OF MICHIGAN

In re:
                                                                            Chapter 13
Alisa Byrnes                                                                Case No: 18-01839
                                                                            Hon. Scott W. Dales
Soc. Sec. No. XXX-XX-9904

                           Debtor

_                                                   /

                                     NOTICE OF VOLUNTARY DISMISSAL OF CASE

             This matter having come on to be heard for Voluntary Dismissal per Debtor’s
             request, for the reason that for the reason that Debtor has been incapacitated due to
             an injury/illness for a substantial period of time and unable to comply with the
             requirements of the bankruptcy process;

                           NOW, THEREFORE, IT IS HEREBY STIPULATED that this Chapter 13
                           case is voluntarily dismissed:

                           IT IS FURTHER STIPULATED that the Clerk's office shall immediately
                           provide notice to the entry of this Order to all creditors listed in this case, the
                           Debtor, Debtor’s attorney, if any, and the Trustee.

                           IT IS FURTHER STIPULATED that Barbara P. Foley is discharged as
                           Trustee, and the Trustee and her surety are released from any and all liability
                           on account of the within proceedings.

/s/ Adam J. Gantz                                                   /s/ Alisa Byrnes
Adam J. Gantz (P58558)                                              Alisa Byrnes, Debtor
The Gantz Law Firm
Attorney for Debtor
30903 Northwestern Highway, Suite 270
Farmington Hills, MI 48334
(248) 702-0550
agantz@gantzassociates.com

Dated: August 10, 2018




Voluntary Dismissal; Form Revised 07-01-00                                                                       © David Wm. Ruskin, 2000
